Case 2:O4-cr-20390-.]DB Document 102 Filed 08/31/05 Page 1 of 2 Page|D 123

IN THE uNITED sTATEs DISTRICT COURT r~'n_:_=p BY 5
FoR THE WESTERN DISTRICT oF TENNESSEE '" ‘“" °' "
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UNITED sTATEs 0F AMERICA, tell f st t.l;t,;pH,rS
Plaimiff,
v. No. 04-20390-B/An

DOSEY NEWTON,

Defendants .

 

ORDER GRANTING MOTION TO CONTINUE SURRENI)ER DATE

 

Before the court is the motion of Defendant, Dosey Newton, for a continuance of his
surrender date, presently set for August 31, 2005. In support of his motion, Defendant states
that an additional thirty (30) days is necessary to make final arrangements for his children’s care.
The government has no objection to the Defendant’s motion.

Accordingly, the Court GRANTS Defendant’s motion for a continuance of his surrender
date for an additional thirty (30) days. Defendant is to report to FCI Forrest City on Monday,
October 3, 2005, at 2:00 p.m.

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IT ls so onr)ERED this '3£ day of Augusr, 2005.

 

 

J. DANIEL BREEN \
NI 'ED sTATEs DISTRICT JUDGE

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Wlth Rule 55 and/or 32

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Notice of Distribution

This notice confirms a copy of the document docketed as number 102 in
case 2:04-CR-20390 Was distributed by faX, mail, or direct printing on
September 2, 2005 to the parties listed.

 

 

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Honorable J. Breeri
US DISTRICT COURT

